Case 6:20-cv-00054-NKM-RSB Document 146-8 Filed 03/25/22 Page1lof4 Pageid#: 5836

EXHIBIT H

Google Search
delta - Google Search

1 of 3

Google delta x

Q All x Flights

About 621,000,000 results (0.72 seconds)

@ News (] Images © Maps : More

Ad - hitps:/Avww.delta.cony

Delta Air Lines® Official Site - Delta - Clean Travel Experience

Start Your Next Adventure. Dream, Plan, Discover Something New. Up to 300 Movies Inflight.
Join SkyMiles. Free Text Messaging. Premium Snacks. Wi-Fi Equipped.

Book A Flight
Start Planning Your Next Adventure Seach Flights at delta.com

Modify Your Travel

Change Your Flight on Delta.com

Join SkyMiles for Free
Earn Mites That Don't Expire And Enjoy More Exclusive Benefits

Traveling Outside the US?

Learn About New Requirements Find international Test Locations

https:/Awww.delta.com =?
Airline Tickets & Flights: Book Direct with Delta Air Lines ...

Delta Air Lines, a leader in domestic and international travel, offers airline tickets & flights to over
300 destinations in 60 countries.

Book a Flight

Search for a Delta flight round-trip, muiti-city or more.

Flight Status & Notifications

All dates and times are local for the airport listed.

Find Your Trip

By continuing to browse, you consent to our use of cookies ...

Check-in & Security
Whether you check in on delta.com, the Fly Delta app or in-person ...

More results from delta.com »

Delta flights on Googie

This airline has updated its flight change policies to give you more flexibility when you
travel. Learn more

© Washington, DC (alt airports) ©

Boston Apr 28 - May 4

Orlando May 9-17

> Search Delta flights

People also ask

@ Annapolis, Maryland - From your IP address - Update location

Help Sendfeedback Privacy Terms

Tools

LOWPRICE $97

$158

Case 6:20-cv-00054-NKM-RSB Document 146-8 Filed 03/25/22 Page 2of4 Pageid#: 5837
https://www.google.com/search?q=delta&client=firefox-b-1-d&ei=uuM...

eH @®

Delta Air Lines

Airline

wenn
PRES

© delta.com

Delta Air Lines, Inc., typically referred to as Delta, is
one of the major airlines of the United States and a
legacy carrier. One of the world's oldest airlines in
operation, Deita is headquartered in Atlanta, Georgia.
Wikipedia

Customer service: 1 (800) 221-1212

Stock price: DAL (NYSE) $37.26 +1.04 (+2.87%)}
Mar 24, 4:00 PM EDT - Disclaimer

Bag information: In economy, within United States,
1st bag $30, 2nd bag $40. To other destinations,
prices vary by itinerary. More Delta Air Lines bag
information

CEO: Ed Bastian (May 2, 2016-)
Headquarters: Atlanta, GA
Founder: Collett E. Woolman

Subsidiaries: Delta Vacations, Endeavor Air, Delta
Connection, MORE

Hubs: Hartsfield-Jackson Atlanta international
Airport, MORE

Disclaimer
Track flight status
rtny Tight ream Track flight
Profiles
Ho 8
Facebook Twitter 7 LinkedIn

People also search for

JetBlue

Southw...
Airlines

American United

Airlines Airlines

Feedback

3/24/22, 5:35 PM
Case 6:20-cv-00054-NKM-RSB

delta - Google Search

Document 146-8 Filed 03/25/22 Pa

e3o0f4 Pa

eld#: 5838

https w/ovw google com/seareh iq-dehadzclients testox bel dee r—auM..

What does Delta mean in aviation? v
What is Delta full name? v
Feedback

hitps:/Avww.deltafaucet.com

Delta Faucet | Bathroom and Kitchen Faucets, Showers ...

The Delta Faucet brand delivers well-made, stylish faucets, shower heads and other kitchen and
bathroom accessories. Browse now to customize your kitchen or ...

® Top stories

INSIDER S} One Mite at a Time
Delta takes delivery of Delta Takes Delivery of
its first Airbus A321Ineo First Airbus A32ineo
to replace older jets
3 hours ago $3 hours ago
MarketWatch re me
Delta Air Lines Inc. (ey ist in Delta welcomes its ist
stock rises Thursday, VISETG Airbus A32ineo,
outperforms market launches a new era for do...
44 mins ago 1 day ago

> More news

https:/Awitter.com/Delta  ;
Delta (@Delta) - Twitter

The snack cart is here with
food and drinks... what do

Tag someone who's the
perfect travel partner.

you ask for?
?
Let's discuss. Drop your
choice below $<
Twitter - 1 day ago Twitter - 2 days ago Twitter - Mar 17, 2022
© Videos
In the Making: First #A321neo to Delta Air Lines
YouTube - Airbus
is) 9 hours ago
Delta Air Lines Expected To Order 100 Boeing 737 MAX 10s
YouTube « Simple Flying
Ep . ‘ 1 day ago
October 2021 Delta Air Lines Safety Video
YouTube - Delta
GED =) cote, 2021
Feedback

> View all

https:/Avww.facebook.com >...» Airline Company =?

2 of 3

3/24/22, 5:35 PM
Case 6:20-cv-00054-NKM-RSB Document 146-8 Filed 03/25/22 Page 4of4 Pageid#: 5839
delta - Google Search https://www.google.com/search?q=delta&client=firefox-b-1-d&ei=uuM...

Delta Air Lines - Home | Facebook

Delta Air Lines, Attanta, Georgia. 3282353 likes - 20327 talking about this - 380137 were here.
You love to travel. We love taking you there. Our...

Mar 7, 2022

https:/Awww.deltaedu  }
Delta College - University Center, Michigan - Delta College

One of the nation's top community colleges. Choose from 100s of associate, certificate, transfer
and job training programs. Think big. Think Delta.

https:/Avww.cnbc.com> quotes» DAL
DAL: Delta Air Lines Inc - Stock Price, Quote and News - CNBC

Get Delta Air Lines Inc (DAL:NYSE) real-time stock quotes, news, price and financial information
from CNBC. o

Related searches

Delta College ¥
SY Southwest Airlines competitors v
sommes SkyTeam members v
Feedback
Q delta meaning Q delta geography
Q delta airlines Q delta faucet
Q delta math Q  delta.com login

Q = deltacheck-in !

kK KKK ER KEK be a

12345 67 8 9 10 Next

3 of 3 3/24/22, 5:35 PM
